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&nbsp;

&nbsp;

&nbsp;

&nbsp;

In The

Court of
Appeals

For The

First District
of Texas

————————————

NO. 01-10-00580-CV

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CONTINENTAL
BALLROOMS, INC. AND HOUSTON SHOPPING CENTER MANAGERS I, LLC DBA COMREALTY,
Appellants

V.

LOMAS SERVICES DBA ALICIA JOHNSON,
Appellee



&nbsp;



&nbsp;

On Appeal from the 55th District Court 

Harris County, Texas



Trial Court Cause No. 2007-61479

&nbsp;



MEMORANDUM OPINION

Appellant has filed a motion to dismiss the appeal.&nbsp; No opinion has issued.&nbsp; Accordingly, we grant the motion and dismiss
the appeal.&nbsp; See Tex. R. App. P. 42.1(a)(1).

We dismiss all other pending motions as moot.&nbsp; We direct the Clerk to issue the mandate
within 10 days of the date of this opinion.&nbsp;
See Tex. R. App. P. 18.1.

PER CURIAM

Panel
consists of Chief Justice Radack and Justices Bland and Brown.





